PROMZ Case 2:02-cr-20093-SH|\/| Document 37 Filed 08/29/05 Pagelon Page|D 49

 

(Rev. 3/88)
UNITED STATES DISTRICT COURT
Fll.ED BY “ D,c_
for _
05 AUG 29 PH 3= 115
WESTERN D!STRICT OF TENNESSEE
_ U~IOMAS M. GOUD
wEsTERN DIVISI N CLEt<bU.S\ §!SIP.!CY CGURI
W/ Oii ‘?PHS
U.S.A.vs. TEBENCE POLLARD Docket Nos. 2:02CR20093-01 2:02CR2 354-01

 

Petition on Probation and Supervised Release

COMES NOW FREDDIE MCMASTER ll PROBATION OFFICER OF TI-IE COURT presenting
an official report upon the conduct and attitude of l errence Pollard who was placed on supervision by the Honorable
Samuel H. Mays, Ir. sitting in the Court at Memphis, TN on the ith day of April, M who fixed the period of
supervision at three 131 years*, and imposed the general terms and conditions theretofore adopted by the court and
also imposed special conditions and terms as follows:

The defendant shall pay $34,744.43 restitution ($34,744.43 balance).
'l`he defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the probation
officer for treatment of narcotic addiction or drug or alcohol dependency which may include testing for the detection

of substance use or abuse.

The defendant shall provide the probation officer access to any requested financial information

*Term of Supervised Release began May 5, 2005.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Mr. Pollard attends barber school and will be obtaining employment upon completion lt is recommended the Court
approve the following payment plan.

PRAYING THAT THE COURT WlLL ORDER Ternence Polla.rd’s restitution payments be set at ten percent
(10%) of his monthly gross income payable by the end of each month.

 

 

ORDER OF COURT Reipectfully,
rv ,
c%sidered and 0 md this 2‘- "\day aug WYFMF
of , 20__ and ordered filed and Freddie McMaster ll
f

made a part 0 e rec 212 q above case. Probation Officer

Place Mem his Tennes

 

 

United States District Judge
Date Agggst 24. 2005

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:02-CR-20093 Was distributed by faX, rnail, or direct printing on
September 2, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

